Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 1 of 41




                     EXHIBIT K
          Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 2 of 41


                                                            Filed 09/04/2020 Commonwealth Court

                 IN THE COMMONWEALTH COURT OF PENNSYLVANIA

Michael Crossey, Dwayne Thomas,              :
Irvin Weinreich, Brenda Weinreich,           :
and the Pennsylvania Alliance                :
for Retired Americans,                       :
             Petitioners                     :
                                             :
         v.                                  :      266 M.D. 2020
                                             :
Kathy Boockvar, Secretary of the             :
Commonwealth, and Jessica Mathis             :
Director of the Bureau of Election           :
Services and Notaries,                       :
             Respondents                     :


                        RECOMMENDED FINDINGS OF FACT
                           AND CONCLUSIONS OF LAW

                                        I. Introduction
                On April 22, 2020, the Pennsylvania Alliance for Retired Americans
and four individuals, two of whom are members of the Alliance (collectively,
Petitioners), filed a Petition for Declaratory and Injunctive Relief (Petition) against
the Secretary of the Commonwealth, Kathy Boockvar, and the Director of the
Bureau of Election Services and Notaries, Jessica Mathis (collectively, Secretary) in
this Court. Anticipating disruptions to the June 2, 2020, primary election from the
COVID-19 pandemic, the Petition raised, inter alia, constitutional claims about
provisions of the Pennsylvania Election Code (Election Code) 1 related to mail-in
ballots, which is a method of voting that the General Assembly added to the Election
Code by the Act of October 31, 2019, P.L. 552, No. 77 (Act 77). Petitioners filed a
May 8, 2020, Emergency Application for Special Relief in the Nature of a


1
    Act of June 3, 1937, P.L. 1333, as amended, 25 P.S. §§2600-3591.
        Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 3 of 41




Preliminary Injunction and for Expedited Review (Preliminary Injunction
Application).
               This Court held a pre-hearing telephone conference call on the
Preliminary Injunction Application, during which the Secretary confirmed her
intention to challenge this Court’s jurisdiction over the Petition in her preliminary
objections.     The parties agreed to bifurcate the issue of jurisdiction over the
Preliminary Injunction Application from the merits. After briefing by the parties
and intervenors,2 this Court denied the Preliminary Injunction Application on May
28, 2020, on the basis that Petitioners were not likely to prevail on the issue of this
Court’s jurisdiction.
               On June 17, 2020, this Court issued an opinion and order transferring
the matter to the Supreme Court of Pennsylvania. This Court agreed with the
Secretary that the Petition’s claims fell within the Supreme Court’s exclusive
jurisdiction over constitutional challenges to Act 77 under Section 13(b) of Act 77.3
Crossey v. Boockvar (Pa. Cmwlth., No. 266 M.D. 2020, filed June 17, 2020).




2
  After this Court transferred the matter to the Supreme Court, the Supreme Court granted the
applications for leave to intervene filed on behalf of President Pro Tempore Joseph B. Scarnati,
III, and Majority Leader of the Senate Jake Corman (collectively, Senate Intervenors) and on
behalf of the Speaker of the House of Representatives Bryan Cutler and House Majority Leader
Kerry Benninghoff (House Intervenors). See Crossey v. Boockvar (Pa., No. 108 MM 2020, filed
August 21, 2020).
        The Supreme Court denied the application for leave to intervene filed by the Republican
Party of Pennsylvania, the Republican National Committee, and the National Republican
Congressional Committee. Id.
3
  Specifically, this Court concluded that the Petition challenged Sections 1306 and 1306-D of the
Election Code. These sections relate to the date, time, and manner by which absentee or mail-in
ballots must be returned to the county boards of elections. They are listed in Section 13(b) of Act
77 as sections over which the Supreme Court had exclusive jurisdiction if a challenge was brought
within 180 days of Act 77’s effective date.
                                                    2
        Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 4 of 41




               The Supreme Court accepted the transfer at 108 MM 2020 and granted
Petitioners’ Application for Leave to File an Amended Petition by July 13, 2020.
The Amended Petition for Review (Amended Petition) sets forth constitutional
claims arising from the Secretary’s failure (1) to allow the return of absentee and
mail-in ballots after the 8:00 p.m. Election Day deadline, because of alleged
backlogs in the application process and delays by the United States Postal Service
(USPS) in mail delivery; (2) to provide prepaid postage on mail-in ballots; and (3)
to allow voters to obtain third-party assistance in the return of mail-in ballots. The
Amended Petition alleges that the Secretary’s failure to implement such procedures
violates Article I, Sections 1,4 5,5 and 266 of the Pennsylvania Constitution.
Petitioners request the Supreme Court to declare that the above-listed barriers to
voting by mail violate their constitutionally protected right to free access to a free
and equal election during the pandemic. Petitioners request the Supreme Court to
order the Secretary to implement additional safeguards for the November 3, 2020,
general election and any other election held during the pandemic. These proposed
safeguards include providing prepaid postage on all absentee and mail-in ballots;
counting ballots delivered after the statutory deadline of 8:00 p.m. Election Day; and
authorizing third-party assistance in the collection and submission of absentee and


4
  Article I, Section 5 of the Pennsylvania Constitution provides: “All men are born equally free
and independent, and have certain inherent and indefeasible rights, among which are those of
enjoying and defending life and liberty, of acquiring, possessing and protecting property and
reputation, and of pursuing their own happiness.” PA. CONST. art. I, §1.
5
  Article I, Section 5 of the Pennsylvania Constitution provides: “Elections shall be free and equal;
and no power, civil or military, shall at any time interfere to prevent the free exercise of the right
of suffrage.” PA. CONST. art. I, §5.
6
  Article I, Section 26 of the Pennsylvania Constitution provides: “Neither the Commonwealth nor
any political subdivision thereof shall deny to any person the enjoyment of any civil right, nor
discriminate against any person in the exercise of any civil right.” PA. CONST. art. I, §26.

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        Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 5 of 41




mail-in ballots to the extent the latter two measures do not trigger Act 77’s non-
severability provisions.
                The Secretary and Intervenors filed preliminary objections to the
Amended Petition.7 Prior to disposition thereof, the Supreme Court issued an August
26, 2020, order appointing the undersigned as Special Master and directing the Court
“to create an evidentiary record on claims raised in this case including the ability of
the United States Postal Service to comply with deadlines for the November 3, 2020
general election.” Crossey v. Boockvar (Pa., No. 108 MM 2020, filed August 26,
2020). The Supreme Court directed this Court to file with the Prothonotary of the
Supreme Court its proposed findings of fact and conclusions of law and
recommended disposition no later than Friday, September 4, 2020. Id.
                On August 27, 2020, this Court issued a case management order that
directed the parties and intervenors to file pre-hearing statements by Friday, August
28, 2020. It scheduled a pre-hearing telephone conference for Saturday, August 29,
2020, and an evidentiary hearing for August 31, 2020. It also ordered that the parties




7
  The Secretary objected on the basis that the Amended Petition (1) fails to state a constitutional
claim because its allegations are hypothetical; (2) the Alliance lacks standing as an organization
and asserts claims not ripe for review; and (3) fails to join indispensable parties, i.e., the county
boards of elections. The Secretary also objected on the basis that the Commonwealth enjoys
sovereign immunity that bars mandatory injunctive relief.
         On August 13, 2020, the Secretary withdrew her preliminary objections that the Amended
Petition did not state a constitutional violation and was not ripe for review.
         Senate Intervenors objected on the basis of (1) lack of jurisdiction and ripeness; (2) failure
to join the county boards of elections as indispensable parties; (3) the claims raise non-justiciable
political questions; (4) failure to conform to law; (5) insufficient specificity of the pleadings; and
(6) lack of capacity to sue.
         House Intervenors objected on the basis of (1) lack of standing of the Alliance because it
does not vote; (2) failure to state a constitutional violation; (3) failure to present a justiciable claim;
and (4) failure to join indispensable parties.
                                                        4
         Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 6 of 41




and intervenors file and serve proposed findings of fact and conclusions of law by
September 2, 2020, 9:00 a.m.
                      II. Evidentiary Hearing of August 31, 2020
                The Court summarizes the hearing testimony and documentary
evidence as follows.
A. Petitioners’ Witnesses8
1. Ronald Stroman
    1.    Ronald Stroman served as Deputy Postmaster General from 2011 to June
          2020. Notes of Testimony, [Aug. 31, 2020,] 13-15 (N.T. ____).
    2.    He holds a B.A. in government from Manhattan College and a J.D. from
          Rutgers University. N.T. 13.
    3.    Mr. Stroman was a member of the USPS Board of Governors, which
          oversees the strategic direction of the USPS. He served on the Postmaster
          General’s Executive Leadership Team, which implements the directions of
          the Board of Governors. N.T. 15.
    4.    Mr. Stroman had responsibility to improve the communications between the
          USPS, election officials and the election mail community; to improve the
          internal training for USPS employees on election mail; and to develop a
          system for rapid response to election mail issues. N.T. 17; Petitioners’ Ex.
          32.




8
  The Court took witnesses out of order so that the testimony relevant to each issue was addressed
at the same time. The Court further notes that the transcript of the evidentiary hearing is
incomplete. Paragraphs 16, 39, and 40 of the summary of Mr. Stroman’s testimony is based upon
the notes of the court and staff, not the transcript. On September 4, 2020, a corrected transcript
was filed with the Court. The citations herein refer to the transcript filed with the Court on
September 1, 2020.
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     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 7 of 41




5.    The Court accepted Mr. Stroman as an expert in the USPS’ operations and
      delivery standards, and the application of those delivery standards to voting
      by mail. N.T. 19, 25.
6.    Mr. Stroman testified that there are three aspects to the USPS mail process:
      retail (local post office), processing and delivery. N.T. 26.
7.    Mail is collected by carriers or at a local post office. All mail is collected
      and placed with similar types of mail (e.g., First-Class Mail, Marketing
      Mail) and transported to the processing center. At the processing center,
      mail is placed in sorting machines to find the correct zip code. If the mail
      remains in the same zip code, it is taken to a truck for transportation to a
      delivery unit. Carriers and clerks sort the mail by routes, and then the mail
      is placed on trucks for delivery to the addressees. N.T. 26-27.
8.    If mail is designated for a location outside the boundaries of the processing
      center, it is transported to the appropriate processing center. Upon receipt
      there, the same process is used to deliver the mail. Id.
9.    Mr. Stroman was Deputy Postmaster General during the April 2020
      Wisconsin primary, and he testified about the investigation the USPS
      conducted into its performance during that primary. N.T. 28; Petitioners’
      Ex. 4.
10. Mr. Stroman attributed the delay in the receipt of absentee ballots during the
      Wisconsin primary election to: (1) the different service standards depending
      on the class of mail; and (2) the date upon which a voter requested a ballot.
      N.T. 28, 29.
11. Mr. Stroman testified about the July 29, 2020, letter that General Counsel
      and Executive Vice President of the USPS, Thomas J. Marshall, sent to


                                            6
   Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 8 of 41




    Secretary Boockvar.        That letter advised the Secretary that the
    Commonwealth’s election law deadlines for requesting and casting mail-in
    ballots are incongruous with the USPS’ delivery standards, and that this
    mismatch creates a risk that ballots requested near the deadline would not
    be returned in time to be counted under the law. N.T. 34; Petitioners’ Ex. 6.
12. The July 29, 2020, letter further advised that there are two main classes of
    mail used for ballots: First-Class Mail and Marketing Mail, the latter of
    which uses a nonprofit postage rate. Petitioners’ Ex. 6.
13. Mr. Stroman agreed with Mr. Marshall’s statement that voters must use
    First-Class Mail (or an expedited service) to mail their ballots and ballot
    requests, while election officials may generally use First-Class Mail or
    Marketing Mail to mail ballots to voters. N.T. 37.
14. Domestic First-Class Mail has a nationwide delivery standard of 2 to 5 days
    upon receipt at the post office. N.T. 38, 75; Petitioners’ Ex. 6, 32, ¶18.
15. Marketing Mail has a nationwide delivery standard of 3 to 10 days upon
    receipt at the post office. N.T. 38, 75; Petitioners’ Exs. 6, 32, ¶18.
16. Mr. Stroman agreed that the July 29, 2020, letter does not advocate for
    changes in Pennsylvania’s election law to accommodate the USPS’s
    delivery standards and was intended to be educational.
17. According to Mr. Stroman, mail delivered within the above-listed standards
    is considered timely under normal circumstances. N.T. 38, 39.
18. Mr. Stroman identified three circumstances that he does not consider normal
    at this time: the COVID-19 pandemic, new initiatives by the new Postmaster
    General and the increase in the volume of mail-in ballots. N.T. 39, 45.



                                          7
   Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 9 of 41




19. The pandemic has caused issues with USPS employee availability, which in
    turn affects the processing and delivery of mail in both the primary location
    and secondary location to which the mail is directed. N.T. 39, 40.
20. In the Pennsylvania June 2, 2020, primary, the pandemic affected the
    delivery of mail not only in the Philadelphia region but also in the entire
    mail-processing network. N.T. 43, 44.
21. Mr. Stroman testified that the new Postmaster General, Louis DeJoy, issued
    a new directive that mail transportation trucks leave at the designated time.
    If the mail has not been processed before the scheduled departure, the truck
    leaves without all the mail. In a cumulative fashion, this causes delays and
    backups on the delivery side of the process. N.T. 45-47, 55.
22. The third factor affecting the delivery standards is the volume of ballots.
    States are amending their election laws, which requires the USPS to train its
    employees to process election mail. N.T. 47.
23. The above factors will delay the USPS’ ability to meet its delivery standards,
    according to Mr. Stroman. N.T. 49.
24. Mr. Stroman testified about Petitioners’ Exhibit 9, which is a Score Break-
    down of Presort First-Class Mail on a nationwide basis and shows a decline
    in delivery times for three weeks in July 2020. He testified that Petitioners’
    Exhibit 9 was consistent with his knowledge of the Postmaster General’s
    testimony in recent U.S. House and Senate Hearings.              N.T. 49-51;
    Petitioners’ Ex. 9.
25. Exhibit 9 purports to show how close the USPS came to meeting its
    performance standards. The decline in the score indicates that the USPS did
    not meet its service performance targets. N.T. 52-54.


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  Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 10 of 41




26. Mr. Stroman opined that the USPS’ failure to hit its performance targets has
    a compounding effect and that delays in delivery will get worse as time runs.
    N.T. 54, 55.
27. Mr. Stroman testified that all ballots returned to the county boards of
    elections will be single-piece mailings, which requires them to go through
    the sorting process. This may cause delays. N.T. 56, 85, 88.
28. Mr. Stroman testified regarding Petitioners’ Exhibit 28, which is an Areas
    Inspiring Mail Chart. The Chart uses a baseline performance standard of
    96%, meaning that percentage of time the USPS meets its delivery standard
    of 2 to 5 days for First-Class Mail or 3 to 10 days for Mass Marketing Mail.
    N.T. 58-63; Petitioners’ Ex. 28.
29. The Chart provides that in the 43rd week, the USPS’ performance rates,
    when compared to its intended performance standard of 96%, was 72.86%
    for Central Pennsylvania; 85.68% for the Philadelphia Metropolitan area;
    and 90.01% for Western Pennsylvania. N.T. 61; Petitioners’ Ex. 28.
30. Mr. Stroman attributed the drop in the performance to the Postmaster
    General’s changes in operations. N.T. 60.
31. These numbers mean that the USPS is not meeting its service target rates by
    a large margin, according to Mr. Stroman. N.T. 61, 62.
32. Mr. Stroman has a high degree of confidence in the data used in Petitioners’
    Exhibit 28 based on his personal knowledge of how the USPS operates and
    how such data is retrieved and compiled. N.T. 101-02.
33. Mr. Stroman opined that the USPS cannot improve its performance before
    the November 2020 general election. It takes time to fix the problems due



                                         9
  Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 11 of 41




    to the integrated nature of the USPS’ network and to clear backlogs. N.T.
    62, 63.
34. Mr. Stroman opined that there is a significant risk that the USPS will not
    meet its First-Class Mail service delivery standards of 2 to 5 days during the
    November 2020 election. N.T. 66, 70.
35. Mr. Stroman further observed that not all absentee ballots will be deposited
    in the mail from within the Commonwealth. N.T. 71.
36. Mr. Stroman testified that the USPS’ delivery standard is 2 to 5 days within
    the Commonwealth, which includes mail deposited in the mail outside of the
    Commonwealth. N.T. 76, 77.
37. Mr. Stroman did not know which class of mail Pennsylvania election
    officials will use to mail the ballots to voters or the class by which the ballots
    will be returned to election officials. He believed that Pennsylvania’s boards
    of elections are not using uniform mailing. N.T. 78.
38. Election mail is not separated from the general mail but the USPS attempts
    to prioritize it by tagging or coding election mail. N.T. 83, 85.
39. Mr. Stroman agreed that the county boards of elections play a very important
    role in getting the ballots to voters on time and are ultimately responsible for
    mailing ballots. N.T. 107. The county boards of elections should ensure that
    the envelopes used are automation compatible, the proper weight and
    properly addressed.
40. Mr. Stroman recommended that voters mail their completed ballots to the
    county election board at least 10 days prior to the election.
41. Mr. Stroman testified that it was possible but highly unlikely that a voter
    who requested a mail-in ballot the Tuesday before the election could have


                                          10
       Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 12 of 41




        that ballot mailed to the voter and then received by the county board of
        elections before the Election Day 8:00 p.m. deadline.         N.T. 120-22;
        Petitioners’ Ex. 32, ¶19.
2. Devon Laudenslager
  1.    Devon Laudenslager is a resident of the City of Philadelphia and has been
        registered to vote for four years. N.T. 282.
  2.    Due to the COVID-19 pandemic, Ms. Laudenslager applied for a mail-in
        ballot from her county board of elections on May 5, 2020, and received a
        confirmation email the next day that her application had been received. N.T.
        282.
  3.    On May 15, 2020, Ms. Laudenslager received a second email indicating that
        her ballot had been mailed on May 15, 2020, and if she did not receive the
        ballot by May 22, 2020, she should contact her board of elections. N.T. 283.
  4.    When Ms. Laudenslager did not receive her mail-in ballot by May 22, 2020,
        she attempted to contact her board of elections. N.T. 283. Initially, she
        received a busy signal and, when the line was not busy, no one answered the
        phone and there was no ability to leave a message. N.T. 283-84.
  5.    She attempted to locate an alternate phone number to contact the board from
        its website, but her attempts to reach the board through alternate phone
        numbers were unsuccessful. N.T. 284.
  6.    As of May 26, 2020, the deadline to apply for a mail-in ballot, Ms.
        Laudenslager had not received her ballot. N.T. 283.
  7.    Ms. Laudenslager contacted her state representative’s office, which told her
        that it had been in touch with the City of Philadelphia Commissioners



                                            11
       Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 13 of 41




        Office, and had a list of voters that needed replacement ballots. N.T. 285-
        86.
  8.    On June 2, 2020, Ms. Laudenslager went to her polling place to vote because
        she had not received her mail-in ballot. N.T. 286.
  9.    Her vote was counted. N.T. 286.
  10. Ms. Laudenslager received a ballot by mail on June 4, 2020. N.T. 286.
  11. Ms. Laudenslager intends to vote in the November 3, 2020, general election
        but doubts she will attempt to use a mail-in ballot due to her experience in
        the June 2020 primary and her fears that she cannot be assured that her
        county board of elections will receive her ballot in time to be counted even
        if she receives her ballot timely. N.T. 287-89.
  12. Ms. Laudenslager gave two other examples of issues she had with her mail.
        She expected a follow-up letter from a graduate school and she received a
        letter from the Department of Transportation indicating her license would
        be renewed but that she should expect a follow-up letter. She never received
        either follow-up letter. N.T. 287.
3. Dr. Joseph Eisenberg
  1.    Joseph N.S. Eisenberg, PhD, MPH, is the John G. Searle endowed Chair and
        Professor of Epidemiology in the School of Public Health at the University
        of Michigan. He also has an adjunct appointment at the Universidad San
        Francisco de Quito in Ecuador. He received his PhD in Bioengineering in
        the joint University of California, Berkeley/University of California, San
        Francisco program, and an MPH from the School of Public Health at the
        University of California, Berkeley (focusing on the science of infectious
        disease transmission). Petitioners’ Ex. 30 at ¶2.


                                             12
     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 14 of 41




2.    Dr. Eisenberg is an infectious disease epidemiologist who researches how
      pathogens move through the environment and society to cause infectious
      diseases. Petitioners’ Ex. 30 at ¶¶3, 5.
3.    Since February 2020, Dr. Eisenberg has provided expert advice on COVID-
      19 by serving on advisory panels (Bipartisan Policy Center, Washington
      D.C.); presenting Webinars (Alliance for Health Policy, Barsan Research
      Forum, The University of Michigan Club of Washington, D.C.); and
      participating in media interviews (Detroit Fox News, MSNBC, WXYX
      Detroit, New York Times, Washington Post). During the initial phase of the
      pandemic, Dr. Eisenberg was a member of a subcommittee informing the
      Governor of Michigan’s task force on opening the economy. Dr. Eisenberg
      has consulted with companies such as Ford Motor Company and Gemline
      on best practices during the COVID-19 pandemic. Petitioners’ Ex. 30 at ¶6.
4.    The Court admitted Dr. Eisenberg as an expert in the field of epidemiology.
      N.T. 295.
5.    Dr. Eisenberg observed that COVID-19 cases in Pennsylvania have
      plateaued, but he expects significant transmission to continue in the fall.
      N.T. 297.
6.    The novel coronavirus that causes COVID-19 is spread from person to
      person through the air and on environmental surfaces. The higher the
      concentration of virus to which one is exposed, the greater the chances of
      being infected. Additionally, being close to people who are coughing,
      speaking with force, or sneezing is riskier than those who are just speaking
      normally. Transmissibility increases when people are in enclosed, poorly
      ventilated spaces, in crowded spaces and in close proximity to other people.


                                           13
       Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 15 of 41




        Public gatherings at polling places and ballot return locations in municipal
        buildings may contribute to the spread of the virus. Petitioners’ Ex. 30 at
        ¶¶2, 14.
  7.    Dr. Eisenberg acknowledged the [Centers for Disease Control and
        Prevention] has adopted “interim guidance for ensuring various voting
        options, encouraging physical distancing, personal prevention practices, and
        employing environmental cleaning and disinfection to lower COVID-19
        transmission during elections.” N.T. 307 (quoting Senate Intervenors Ex.17
        at 2).
  8.    Allowing voters to vote by mail is consistent with current public health
        guidelines to minimize the spread of the virus and prevent COVID-19 illness
        because it (1) decreases the number of people who need to vote in person;
        (2) allows high-risk individuals to avoid in-person voting; and (3) minimizes
        the chances that indoor ballot return locations, such as polling stations or
        county board of elections’ offices, will contribute to the spread of the virus.
        Petitioners’ Ex. 30 at ¶¶2, 36.
B. Respondents’ Witness
1. Kathy Boockvar, Secretary of the Commonwealth
  1.    Kathy Boockvar was appointed as Secretary of the Commonwealth in
        January 2019 and confirmed by the Pennsylvania Senate in November 2019.
  2.    Secretary Boockvar is the chief elections official for the Commonwealth of
        Pennsylvania with responsibility for assessing risks to the voting process,
        including obstacles to the accessibility, security and integrity of elections.
        She and the Department of State engage in a “constant assessment and
        evaluation” to ensure “the highest level of accessibility, security, and safety


                                             14
     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 16 of 41




      to the voters of Pennsylvania to make sure that they can exercise their right
      to vote.” N.T. 144.
3.    At the inception of this litigation in April 2020, Secretary Boockvar opposed
      a statewide extension of the received-by deadline for mail-in ballots,
      preferring instead to deal with issues that would arise during the 2020
      primary election on a county-by-county basis. N.T. 132.
4.    The courts of common pleas in three counties extended the received-by
      deadline in the 2020 primary election. N.T. 133. An executive order by
      Governor Tom Wolf extended the received-by deadline by seven days in six
      counties due to civil unrest. Id. at 169.
5.    On July 29, 2020, Secretary Boockvar received a letter from Thomas J.
      Marshall, General Counsel and Executive Vice President of the USPS.
      Respondents’ Ex. 1.
6.    In his letter, Mr. Marshall advised Secretary Boockvar that “most domestic
      First-Class Mail is delivered 2 to 5 days after it is received by the Postal
      Service, and most domestic Marketing Mail is delivered 3 to 10 days after it
      is received.” Respondents’ Ex. 1 at 1. Based on these guidelines, Mr.
      Marshall recommended that (a) where voters will both receive and send a
      ballot by mail, they should request a ballot from their election officials at
      least 15 days before Election Day; (b) election officials should use First-
      Class Mail to transmit blank ballots and allow one week for delivery to
      voters; and (c) domestic voters should mail their completed ballots at least
      one week before the state’s due date. Id. at 1-2.
7.    Observing that Pennsylvania’s election laws require a ballot to be returned
      by Election Day and that voters may request a mail-in ballot as late as 7 days


                                           15
     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 17 of 41




      before Election Day, Mr. Marshall opined that “to the extent that the mail is
      used to transmit ballots to and from voters, there is a significant risk that, at
      least in certain circumstances, ballots may be requested in a manner that is
      consistent with your election rules and returned promptly, and yet not be
      returned in time to be counted.” Respondents’ Ex. 1 at 2.
8.    Mr. Marshall sent the same letter to the Secretary of State of North Carolina
      on July 30, 2020, noting that in North Carolina “a voter may generally
      request a ballot as late as 7 days before the November general election, and
      that a completed ballot must be postmarked by Election Day and received
      by election officials no later than 3 days after the election.” Petitioners’ Ex.
      7. Mr. Marshall’s letter to North Carolina also described North Carolina’s
      election law deadline for receipt of absentee and mail-in ballots
      “incongruous” and “incompatible” with the USPS nationwide delivery
      standards for First-Class Mail and Marketing Mail. Id. The letter went to 46
      states. N.T. 135.
9.    Secretary Boockvar testified that Mr. Marshall’s estimate that most domestic
      First-Class Mail is delivered 2 to 5 days after it is received by the USPS
      differed from her understanding that such mail typically has a 1 to 3 business
      day turnaround time, which is what voters would have expected in previous
      elections. N.T. 138.
10. A total of 1,462,254 ballots were cast by mail in the 2020 primary election.
      Respondents’ Ex. 2. According to the Department of State’s records, the
      mailed ballots were received by the county boards of elections in the
      following timeframes:
                  2/24/2020 – 3/31/2020:         278
                  4/1/2020 – 4/30/2020:          51,743
                                            16
  Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 18 of 41




               5/1/2020 – 5/19/2020:          292,412
               5/20/2020 – 5/26/2020:         320,032
               5/27/2020 – 5/31/2020:         436,701
               6/1/2020:                      173,869
               6/2/2020 (Election Day):       89,018
               6/3/2020:                      31,183
               6/4/2020:                      14,177
               6/5/2020:                      15,973
               6/6/2020:                      3,966
               6/7/2020:                      84
               6/8/2020:                      10,240
               6/9/2020 – 6/24/2020:          22,578
    Id.
11. The State of Washington conducts its elections solely by mail and
    experienced “significant mail delays and a huge increase in the number of
    ballots received after election day” in the 2020 primary election. N.T. 141.
12. The Pennsylvania Department of State predicts that approximately 3 million
    voters will cast their votes by mail-in or absentee ballot in the November
    2020 general election. N.T. 181. Based on voting patterns in the 2020
    primary election, the Department expects that approximately half of the
    mail-in and absentee ballots will arrive in the last week of voting. Id. at 150-
    51.
13. Based primarily upon Mr. Marshall’s letter, Secretary Boockvar changed her
    position on a statewide change to the received-by deadline. In addition, she
    has had discussions with other state election officials. Secretary Boockvar is
    concerned that Pennsylvania’s deadlines for mail-in ballots are incompatible
    with the USPS’ current delivery timeframes, which are applicable statewide.
    She recommends that mail-in ballots should be counted if they are
    postmarked by Election Day, November 3, 2020, and received by the county


                                         17
      Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 19 of 41




         boards of elections no later than 3 days after the election, or by Friday,
         November 6, 2020. N.T. 134-136.
    14. Secretary Boockvar opined that, in weighing the contours of an extension,
         she considered the balance between ensuring citizens can exercise their right
         to vote and conducting efficient election administration. Based on voting
         patterns in the 2020 primary election, the majority of late mail-in ballots
         arrived within 3 days after the election. N.T. 154; Respondents’ Ex. 2.
    15. Secretary Boockvar opined that Petitioners’ requested 7-day extension of the
         received-by deadline will adversely impact other deadlines. N.T. 153.
         These deadlines include the deadline by which certain voters using mail-in
         or absentee ballots must provide identification, which is on the sixth day
         after the election;9 the deadline for defeated candidates to give up any right
         to a recount or recanvass, which is on the eighth day after the election;10 and
         the deadline for the Secretary to order a recount or recanvass, which is on
         the ninth day after the election.11
    16. County boards of elections are increasing their staffing in advance of the
         November 3, 2020, election and will mail out ballots beginning in
         September.     Federal funds are available to the boards for purchasing
         additional processing equipment. N.T. 145.
    17. The Department of State will reimburse county boards of elections for the
         return postage they affix to the mail-in ballot envelopes, which will be done
         in different ways depending on the county, i.e., business return mail, a stamp


9
  Section 1308(h) of the Election Code, added by the Act of March 6, 1951, P.L. 3, as amended,
25 P.S. §3146.8(h).
10
   Section 1404(h) of the Election Code, 25 P.S. §3154(h).
11
   Section 1404(g)(2) of the Election Code, 25 P.S. §3154(g)(2).
                                                 18
       Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 20 of 41




        or a meter marking. N.T. 158-59. “[A]n overwhelming majority of times
        there’s going to be a postmark.” Id. at 159.
  18. The Department of State is conducting major efforts to educate voters about
        the process of voting by mail and the importance of doing so promptly. N.T.
        146-47.
  19. When impediments to voting arise in individual counties, such as local
        emergencies or delays in issuing ballots, a county may seek relief from its
        own court of common pleas. N.T. 132, 155-56.
C. Senate Intervenors’ Witness
1. Michael Plunkett
  1.    Michael Plunkett is a retired 25-year employee of the USPS. He holds a B.A.
        in Economics from the Pennsylvania State University, an M.B.A. from the
        Wharton School, University of Pennsylvania, and a second M.B.A. from the
        Massachusetts Institute of Technology. N.T. 205.
  2.    Mr. Plunkett worked for the USPS in various staff and management
        positions, including letter carrier and Associate Vice President of Business
        Development. N.T. 193; Senate Intervenors (SI) Ex. 1, ¶¶1-3. He retired
        from the USPS in 2011 and since 2016 has served as President and CEO of
        the Association for Postal Commerce, which is a trade association for
        companies that use the USPS in their business. SI Ex. 1, ¶3.
  3.    Mr. Plunkett was admitted as an expert witness in USPS delivery
        performance standards and practices on postmarks. N.T. 202, 211.
  4.    Mr. Plunkett used the quarterly reports filed by the USPS with the Postal
        Regulatory Commission, the regulator for the USPS, as the source of data



                                            19
     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 21 of 41




      for his expert testimony about USPS operational performance in
      Pennsylvania and in the Eastern Area. SI Ex. 1, ¶7.
5.    Pennsylvania has 8.5 million registered voters. For purposes of his opinion,
      Mr. Plunkett assumed that all voters would vote by absentee or mail-in
      ballots in the November 2020 general election over the 50-day period
      permitted under the Election Code. SI Ex. 1, ¶¶13, 15.
6.    Most outbound First-Class Mail is sent in batches known as “Presort
      First-Class Mail,” which will be used to send ballots to voters by county
      boards of elections. SI Ex.1, ¶¶8, 10.
7.    Election mail is treated differently than other First-Class Mail because it is
      prioritized for faster delivery. N.T. 267-268.
8.    Mr. Plunkett testified that USPS delivery standards are zip code specific.
      The service performance standard for First-Class Mail within the 48
      contiguous states is 2 to 3 days, and 2 to 5 days for those states plus Alaska,
      Hawaii and Puerto Rico.        It is 6 days for Guam.        For mail within
      Pennsylvania, the service performance standard is 2 days, although it is 3
      days for mail between Erie and Philadelphia. For intra-county mail in
      Pennsylvania, the service performance standard is 2 days but up to 3 days
      for some counties. N.T. 213, 244.
9.    Mr. Plunkett testified about the USPS report for the first quarter of 2020
      covering the Eastern Area, made up of four districts that cover Pennsylvania
      identified as “Appalachian,” “Central Pennsylvania,” “Philadelphia Metro”
      and “Western Pennsylvania.” N.T. 217. The report showed that 99.5% of
      outbound Presort First-Class Mail was delivered within 3 days.            This
      included mail originating within and outside Pennsylvania. Of that total,


                                           20
  Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 22 of 41




    98.3% was delivered within 1 day. SI Ex. 1, ¶¶8, 10. The service standard
    is 2 days for mail originating and ending in Pennsylvania. N.T. 219.
10. The USPS report for the first quarter of 2020 showed that in the Eastern
    Area, 97.0% of First-Class Mail was delivered within 3 days. Of that
    number, 92.5% of all First-Class Mail was delivered within 1 day. SI Ex. 1,
    Attachment A.
11. The USPS report for the second quarter of 2020 in the Eastern Area showed
    that approximately 99% of Presort First-Class Mail in Pennsylvania was
    delivered within 3 days, with 97.4% being delivered within 1 day. SI Ex. 4
    at 2; N.T. 217.
12. The second quarter of 2020 included the period of time the USPS
    experienced a reduction in employee availability caused by the COVID-19
    pandemic. N.T. 225.
13. The volume of First-Class Mail declined approximately 9% between 2019
    and 2020, which suggests that the USPS has capacity to handle an increase
    in mail volume. SI Ex.1, ¶18.
14. During the first quarter of 2020, the USPS processed approximately 700
    million Presort First-Class Mail letters and postcards in the Eastern Area. SI
    Ex.1 ¶11. If all 8.5 million registered voters in Pennsylvania request an
    absentee or mail-in ballot for the November 2020 election, that would
    represent 1.2% of USPS capacity in the Eastern service area. N.T. 144. The
    Secretary anticipates that 3 million Pennsylvanians will vote by mail in
    2020, which represents 0.4% of USPS capacity in the Eastern service area.
    N.T. 181.



                                        21
  Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 23 of 41




15. Given the volume of First-Class Mail handled by the USPS in the Eastern
    Area, Mr. Plunkett testified that the addition of 8.5 million ballots would not
    create an operational issue for the USPS. N.T. 181; SI Ex. 1, ¶15. Mr.
    Plunkett opined that “adding outbound and inbound election related mail in
    Pennsylvania would not impact the USPS’ ability to provide reliable and
    timely mail service.” SI Ex. 1, ¶24.
16. Mr. Plunkett is “unaware of any significant disruptions to First-Class Mail
    service.” SI Ex. 1, ¶19. Such disruptions would be known to him given his
    25-year employment with the USPS and current employment with the
    Association for Postal Commerce, which continually monitors USPS
    performance. N.T. 205.
17. Upon being shown Petitioners’ Exhibit 28, Mr. Plunkett testified that the
    Postmaster General acknowledged that policy changes caused a temporary
    decline in service. Because the Postmaster General has ended the practice
    of trucks leaving a processing center before all mail has been sorted, USPS
    service should return to pre-decision levels. N.T. 252-53.
18. “Postmarks” are applied to stamped mail to prevent reuse of the stamp. N.T.
    236; SI Ex. 1. Commercial mail generally bears evidence of payment, such
    as permit imprints, that are linked numerically to postage accounts. This
    mail does not bear traditional “postmarks” readable by the human eye. SI
    Ex. 1, ¶29.
19. The USPS has created specific service type identification (STID) codes,
    which are encoded in an intelligent mail barcode, for use on election mail
    that will allow it to identify and track ballots as they move through the USPS
    network. SI Ex. 1, ¶35.


                                         22
       Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 24 of 41




  20. The marks imprinted by the USPS on this type of mail are not readable by
        the human eye and would require scanners and software to decode. SI Ex.
        1, ¶36. Mr. Plunkett testified that the USPS “plans to isolate election mail
        and to postmark even where postmarks are not necessary.” N.T. 246, 261.
  21. Mr. Plunkett testified that a voter who requests a ballot on the last day in the
        general election cycle, Tuesday, October 27, 2020, would likely receive a
        ballot on Thursday or Friday. If the voter mails her ballot on Saturday, it
        would likely be received on Monday or Tuesday, Election Day. N.T. 271,
        272.
  22. Mr. Plunkett testified that a 1-day delay in service would not mean that
        ballots would not be received on time. N.T. 267.
D. House Intervenors’ Witness
1. Torren Ecker
  1.    Mr. Ecker is a member of the House of Representatives and represents the
        193rd District. N.T. 331.
  2.    He ran in the May 15, 2018, primary as one of four candidates for the office.
        N.T. 331.
  3.    At 9:30 p.m. that day, the election results were posted and it appeared that
        Mr. Ecker lost by one vote. N.T. 332.
  4.    Election officials learned that one precinct had not counted its absentee
        ballots. When those ballots were counted, Mr. Ecker gained an additional
        vote. At that point, the election was tied. N.T. 332-33.
  5.    When the county board of elections recanvassed its ballots, it found two
        provisional ballots. An unqualified voter submitted one ballot, and the other
        voter cast a ballot in favor of Mr. Ecker. N.T. 334.


                                            23
     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 25 of 41




6.    The losing candidate petitioned the court of common pleas for a recount, but
      after the recount Mr. Ecker remained the winner of the primary election.
      N.T. 335.
7.    Starting on May 15, 2018, the entire process took approximately one month.
      N.T. 335.
8.    As a candidate, Mr. Ecker agreed that he wanted constituents of the 193rd
      District to vote. N.T. 338.
                              III. Findings of Fact
1.    All witnesses testified credibly. To the extent that the opinions of Mr.
      Stroman and the Secretary differ from the opinions of Mr. Plunkett, the
      Court finds Mr. Plunkett’s opinions more credible and persuasive than those
      of Mr. Stroman and the Secretary, in light of his experience in statistical and
      financial analysis of USPS data both as a 25-year employee of the USPS
      and as current president of the Association for Postal Commerce.
2.    The USPS has a standard delivery performance of 2 to 3 days for First-Class
      Mail in the contiguous United States; 5 days for First-Class Mail sent to
      Alaska, Hawaii, and Puerto Rico; and 6 days for mail sent to Guam.
3.    Marketing mail has a nationwide standard delivery performance of 3 to 10
      days.
4.    For First-Class Mail within Pennsylvania, the standard delivery performance
      is 2 to 3 days after collection by the USPS. However, mail may take 3 days
      to be delivered from one end of the Commonwealth to the other (for
      example, from Philadelphia to Erie).
5.    These above-described standards for delivery performance have been in
      place for a long time and not been adjusted since the enactment of Act 77.


                                           24
     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 26 of 41




6.    For intra-county mail, the standard delivery performance is 2 days after
      collection by the USPS and, with limited exceptions, may take 3 days within
      some counties.
7.    Petitioners’ Exhibit 9, entitled “USPS Service Performance Measurement,
      PMG Briefing, August 12, 2020,” shows the percentage of time that the
      USPS met its performance target of 96% nationwide for the period of March
      14, 2020, through August 1, 2020, for various classes of mail. Relevantly,
      the graph shows a downturn in the USPS’ performance for the period of July
      4, 2020, through July 18, 2020, for Presort First-Class Mail. The Court
      declines to draw an inference from this exhibit that there is a general decline
      in standard delivery performance because the graph is based upon a snapshot
      of three weeks of experience. Mr. Stroman attributed the downturn to the
      Postmaster General’s new policy directive on transportation, and this policy
      directive has been terminated.
8.    Petitioners’ Exhibit 28, which is a graph produced by Areas Inspiring Mail,
      shows that for the 41st through 43rd weeks there was a drop in the USPS’s
      performance against the target of 96%. The graph shows that during those
      three weeks the USPS met its standard delivery target 72.86% of the time
      for Central Pennsylvania; 85.68% of the time for the Philadelphia Metro
      Area; 84.96% of the time for the Appalachian region; and 90.01% of the
      time for Western Pennsylvania. The Court declines to assign Exhibit 28 any
      weight. First, the document appears undated or the date is obscured. It does
      not show the year and month of the activity depicted. Second, Mr. Stroman
      testified that Exhibit 28 compares the USPS’ performance for 2019 to that
      of 2020 and that the graph shows a sharp decline in the USPS’ performance


                                           25
     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 27 of 41




      targets between the 41st and 43rd weeks. N.T. 59. However, it is not clear
      that the weeks identified in the graph correspond directly to weeks of the
      calendar year. We have not reached the 41st through 43rd weeks of calendar
      year 2020. Third, the graph depicts a snapshot of three weeks and does not
      predict what the data will show for the 12-week period from June 1, 2020,
      to September 30, 2020.
9.    Mail for deposit with the USPS may be handed directly to a postal carrier or
      collected by a carrier from a voter’s residential mail receptacle.
10. There is no separate delivery performance standard for election-related
      First-Class Mail. The USPS prioritizes First-Class Mail identified as
      election-related.
11. Although there was testimony and argument regarding USPS “delivery
      delays,” there was no evidence to define a delay. The USPS delivery
      standards are set in ranges, i.e., 2 to 3 days in Pennsylvania. There is no
      evidence that USPS performance in Pennsylvania extends beyond that
      range. To the contrary, the USPS performance in Pennsylvania falls within
      the range over 98% of the time.
12. Pennsylvania’s USPS performance exceeds the national average. In the
      first quarter of 2020 for Pennsylvania, 99.5% of USPS outbound Presort
      First-Class Mail was delivered within 3 days. More than 98% was delivered
      within 1 day. In the second quarter of 2020 for Pennsylvania, 99.4% of
      USPS outbound Presort First-Class Mail was delivered within 3 days. More
      than 98% was delivered within 1 day.
13. If all 8.5 million registered voters in Pennsylvania elect to vote by absentee
      or mail-in ballot, the quantity of mail generated will represent only 1.2% of


                                           26
   Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 28 of 41




     USPS’ capacity in the Eastern service area and will not overwhelm the
     system.
14. A voter may cast a ballot in person at a polling location any time between
     7:00 a.m. and before 8:00 p.m. on Election Day. If the voter has applied for
     an absentee or mail-in ballot, she may personally return the ballot to the
     county board of elections by 8:00 p.m. on Election Day or mail the ballot to
     the county board in such time that the board receives the ballot no later than
     8:00 p.m., Election Day (the “received-by deadline”).
15. A voter may elect to return the ballot by using a prepaid postage envelope
     if one is provided by the county board of elections, by placing a First-Class
     stamp on the return envelope or by purchasing expedited delivery from the
     USPS or other private delivery service.
16. If a voter applies for an absentee or mail-in ballot but cannot return it to the
     county board of elections before the received-by deadline, the voter may cast
     a provisional ballot in person at her polling place, as Ms. Laudenslager did.
17. There was no evidence that the county boards of elections anticipate
     consolidating polling places as they did in the primary election, that the
     county boards anticipate insufficient staffing or that the health and safety
     procedures used by the county boards during the June 2020 primary were
     ineffective.
18. Section 1206 of the Election Code, 25 P.S. §3046, provides a remedy for
     emergencies arising on election day; that is, an individual or county may
     bring a controversy before the court of common pleas and have the matter
     decided expeditiously. This was done in three counties during the 2020
     primary election. Where an individual is seeking a judicial order to vote,


                                          27
  Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 29 of 41




    the court must inform the individual of the provisional ballot process set
    forth in Section 1206 of the Election Code, 25 P.S. §3046.
19. Secretary’s Exhibit 2, a chart identifying the number of mail-in ballots
    received by each county and the date of receipt, does not support a finding
    that the received-by deadline should be extended by three days, to Friday,
    November 6, 2020. The exhibit does not explain when the voters applied
    for their absentee or mail-in ballots, when the county boards of elections
    mailed the ballots to the voters or when the voters deposited the ballots in
    the return mail.
     Secretary’s Exhibit 2 showed that 61,333 votes were received by county
    boards of elections during the three days that followed the primary election
    day. Of that total, 52,761 were received in counties where the Governor had
    extended the received-by deadline because of civil unrest or where the court
    of common pleas had extended the received-by deadline for receipt of
    absentee and mail-in ballots.       Accordingly, all 52,761 were counted.
    Secretary’s Exhibit 2 does not predict how many mail-in ballots will be
    received after 8:00 p.m. on Election Day because it is not known whether
    the mailing of ballots in the primary election was affected by the announced
    extension of the received-by deadline.
20. The Secretary is working with the county boards of elections and the USPS
    to design election-related mail envelopes. The Secretary is undertaking a
    public education campaign to inform voters of the need to apply for and
    return all mail ballots as early as possible.
21. Ms. Laudenslager was not disenfranchised because she voted at a polling
    place and her vote was counted.


                                          28
     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 30 of 41




22. Petitioners presented no evidence to support their request for third-party
      assistance in the delivery of ballots to either the USPS or the county boards
      of election or for their request for prepaid postage on all absentee and mail-
      in ballots.
23. Petitioners’ claim for prepaid postage is moot in light of the Secretary’s
      announcement that the Department of State will provide funding to the
      county boards of elections for postage.
24. There was no clear evidence presented on whether prepaid postage
      envelopes, which may be provided by the county boards of elections to
      voters for mailing their completed ballots, will be postmarked. A postmark
      would evidence the date the voter placed the ballot in the mail.
25. There was no evidence showing that COVID-19 was transmitted to an
      individual who appeared at a polling place in Pennsylvania during the
      primary election on June 2, 2020.
26. There was no evidence presented to address how an extension of the
      statutory deadline could be implemented without causing confusion among
      the 67 county boards of elections that are preparing to conduct the general
      election in accordance with the received-by deadline which has been in
      effect for all elections in Pennsylvania since 1964, and among the voting
      public.
                             IV. Conclusions of Law
1.    The deadline for receipt of absentee and mail-in ballots by 8:00 p.m. on
      Election Day represents a policy choice made by the legislative and
      executive branches in the enactment of Act 77. This deadline was first
      adopted for absentee ballots. See Section 22 of the Act of August 13, 1963,


                                          29
     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 31 of 41




      P.L. 707 (effective January 1, 1964). The same deadline was adopted in Act
      77 for mail-in ballots. See Section 1306-D(c) of the Election Code, 25 P.S.
      §3150.16(c).
2.    Petitioners’ evidence did not prove that disruptions to USPS operations are
      likely to occur in November 2020 that will cause timely mailed ballots to go
      uncounted in the general election. Petitioners offered no evidence that a
      single mail-in ballot in the primary election was received by a county board
      of elections after the June 2, 2020, deadline because of a delay in delivery
      by the USPS. Petitioners offered no evidence upon which the Court can
      find, as fact, that the USPS will not be able to deliver absentee and mail-in
      ballots within 2 to 3 days of their being posted. The credible evidence shows
      just the opposite, i.e., the USPS is unlikely to be overwhelmed in November.
3.    If the current deadlines remain in place for the November general election
      and significant delays develop in certain counties with the processing of
      ballot applications or in the USPS delivery of mail, the county courts of
      common pleas are empowered to provide targeted relief. Petitioners have
      not demonstrated that such county-specific relief will be inadequate and that
      an immediate statewide remedy is necessary.
4.    As Justice Wecht wrote in support of the Pennsylvania Supreme Court’s
      recent decision dismissing a similar COVID-19-related challenge to the
      Commonwealth’s administration of the 2020 primary election, “the instant
      request … is predicated upon mere speculation about what may or may not
      occur with delivery operations within the Commonwealth in several weeks’
      time. While circumstances may change, the possibility that votes may be
      suppressed due to late ballot delivery, as presently alleged, is too remote at


                                          30
        Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 32 of 41




         this time to constitute a cognizable injury.” Disability Rights Pennsylvania
         v. Boockvar, (Pa., No. 83 MM 2020, filed May 15, 2020) (Wecht, J.,
         Concurring Statement at 1-2).
   5.    Petitioners’ evidentiary case did not address the alleged injury occasioned
         by the prohibition against third-party assistance in casting and delivering
         absentee and mail-in ballots or the need for prepaid postage on all absentee
         and mail-in ballots.
   6.    The Court concludes that it is not necessary to address the outstanding legal
         objections raised by Respondents, by Senate Intervenors or by House
         Intervenors.
   7.    Petitioners have not made a “clear, palpable and plain demonstration” that
         the received-by deadline for absentee and mail-in ballots in Act 77 is
         unconstitutional for any election during the COVID-19 pandemic. Yocum
         v. Commonwealth of Pennsylvania Gaming Control Board, 161 A.3d 228,
         238 (Pa. 2017). The received-by deadline for mail-in ballots is a valid
         election administration regulation, and the opportunity to vote by mail-in
         ballot accommodates those voters who do not wish to vote in person during
         the COVID-19 pandemic.

                                    V. Discussion

              Constitutional challenges to any legislation, including election laws, are
cognizable only where the injury is concrete. “There is a presumption that lawfully
enacted legislation is constitutional. Should the constitutionality of legislation be
challenged, the challenger must meet the burden of rebutting the presumption of
constitutionality by a clear, palpable and plain demonstration that the statute
violates a constitutional provision.” Yocum, 161 A.3d at 238 (emphasis added).

                                              31
      Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 33 of 41




Where a court determines that a law is unconstitutional, it is not the court’s role to
design an alternative scheme that passes constitutional muster; rather, the court must
grant the legislature sufficient time to consider and enact remedial legislation. See
generally In re Fortieth Statewide Investigation Grand Jury, 197 A.3d 712, 721 (Pa.
2018) (courts may not usurp the province of the legislature by rewriting legislation
and adding hearing and evidentiary requirements that the participants must follow
in grand jury proceedings); League of Women Voters v. Commonwealth, 178 A.3d
737, 821 (Pa. 2018) (providing timeframe for legislative and executive branches to
enact remedial redistricting plan).
             Moreover, “‘[i]t is a mistake to suppose[] that a court of equity is
amenable to no law, either common or statute, and assumes the rule of an arbitrary
legislator in every particular case.’ When the rights of a party are clearly established
by defined principles of law, equity should not change or unsettle those rights.
Equity follows the law.” Piper v. Tax Claim Bureau of Westmoreland County, 910
A.2d 162, 165 (Pa. Cmwlth. 2006) (quoting First Federal Savings and Loan
Association v. Swift, 321 A.2d 895, 897 (Pa. 1974)).
             The United States Constitution provides that “[t]he Times, Places and
Manner of holding Elections for Senators and Representatives, shall be prescribed
in each State by the Legislature thereof; but the Congress may at any time by Law
make or alter such Regulations, except as to the Places of chusing [sic] Senators.”
U.S. CONST. art. I, §4, cl.1. Article I, Section 5 of the Pennsylvania Constitution
further states: “Elections shall be free and equal; and no power, civil or military,
shall at any time interfere to prevent the free exercise of the right of suffrage.” P A.
CONST. art. I, §5.



                                              32
      Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 34 of 41




             Each state’s election code, “whether it governs the registration and
qualifications of voters, the selection and eligibility of candidates, or the voting
process itself, inevitably affects -- to least some degree -- the individual’s right to
vote ….” Burdick v. Takushi, 504 U.S. 428, 433 (1992) (quoting Anderson v.
Celebrezze, 460 U.S. 780, 788 (1983)). “A court considering a challenge to a state
election law must weigh ‘the character and magnitude of the asserted injury to the
rights protected by the First and the Fourteenth Amendments that the plaintiff seeks
to vindicate’ against ‘the precise interests put forward by the State as justifications
for the burden imposed by its rule,’ taking into consideration ‘the extent to which
those interests make it necessary to burden the plaintiff’s rights.” Burdick, 504 U.S.
at 434 (quoting Anderson, 460 U.S. at 789).
             Although Petitioners seek to add new provisions to the existing Election
Code, rather than expressly challenging the validity of a particular provision, the
premise of Yocum applies with equal force. This Court has explained that “[a] statute
is cloaked with a strong presumption of constitutionality and one who attacks it bears
the burden of demonstrating that the legislation ‘clearly, palpably and plainly
violates the constitution.’” Ketterer v. Department of Transportation, 574 A.2d 735,
736 (Pa. Cmwlth. 1990) (quotation omitted).
             Petitioners premise their claims on different provisions of the
Pennsylvania Constitution, but the alleged injury in each instance is at bottom the
same: if the legislative and executive branches do not implement the responsive
measures to the ongoing COVID-19 pandemic favored by Petitioners, some voters
will be burdened in the exercise of their vote. They believe this warrants declaratory
and injunctive relief.



                                             33
      Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 35 of 41




             Petitioners allege that counties could (1) face shortages of poll workers
and may have to contend with social-distancing guidelines in processing ballots, see
Amended Petition ¶6; (2) fall behind on processing mail-in and absentee ballots
applications, id., see also ¶53; and (3) the USPS may not be able to deliver election
ballots in a timely manner, id. ¶54. Petitioners allege that it is “anyone’s guess
whether voters who timely request mail ballots will receive them in time to complete
the [ballots] and mail them back to county officials such that they arrive by 8:00 p.m.
on Election Day.” Id. ¶55.
             Petitioners allege that without third-party assistance with delivery of
mail-in and absentee ballots, “[v]oters … who have struggled with delayed mail
delivery will be forced to deliver their ballots for the general election in-person this
year to ensure their votes are counted[.]” Id. ¶63. Similarly, Petitioners assert that
without prepaid postage on absentee and mail-in ballots, voters will have to shoulder
the “unnecessary expense” of stamps, which “could be cost prohibitive,” and will
also risk a “trip to the post office or any other establishment that sells stamps, at a
time when individuals have been instructed to maintain social distancing guidelines
to stem the spread of COVID-19[.]” Id. ¶¶66-67. Some of the reforms for which
Petitioners advocate are under consideration by the General Assembly. If they are
not enacted, Petitioners believe these reforms must be ordered by the Supreme Court
of Pennsylvania.
             The Amended Petition states that in the days before the June primary
election, some counties took targeted measures to address COVID-19-specific
challenges. See Amended Petition ¶25 n.4, ¶57 (citing In re Extension of Time for
Absentee and Mail-In Ballots to be Received by Mail and Counted in the 2020
Primary Election, (C.C.P. Del. Cty. No. 2020-003416)). However, Petitioners


                                              34
      Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 36 of 41




believe these county-specific judicial orders (and executive orders) will not suffice
in November 2020.
             In her preliminary objections filed with the Supreme Court, the
Secretary stated that “nothing in the Amended Petition gives any specifics on what
exactly will go wrong, where it will go wrong, or, -- just as importantly -- why the
statewide remedy Petitioners seek will be necessary to correct the problem. Nor
could the Amended Petition supply these specifics; in a fast-changing situation, and
with the November general election months away, such predications are necessarily
conjectural at best.” Secretary Preliminary Objections, at 16 ¶21.
             Considering the above, Petitioners did not carry their burden of
showing that the Election Code’s deadline for returning absentee and mail-in ballots
is plainly and palpably unconstitutional. One year ago, the former Election Code
required that all mail-in ballots, which were limited to absentee ballots, had to be
returned to the county boards of elections by 5:00 p.m. on the Friday before Election
Day in order to be counted. Former Section 1306(a) of the Election Code, 25 P.S.
§3146.69(a). The General Assembly, which determines the time, place and manner
of Pennsylvania’s elections, extended the former received-by deadline by four days
in Act 77. It is for the General Assembly to decide what further changes should be
made to all the statutory deadlines, which may include advancing the deadline for
requesting an absentee or mail-in ballot.
             Presently, voters in Pennsylvania have 50 days to request and cast a
mail-in ballot. Section 1302.1 – D of the Election Code, 25 P.S. §3150.12a. Voters
have the option to request a ballot early in the process and to return it early in the
process. They also have the option to wait until one week before the election to
request a ballot from the county board of elections, which has 48 hours to respond.


                                             35
      Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 37 of 41




If the voter receives the ballot one day before Election Day, she can purchase
overnight mailing from the USPS to ensure its timely receipt. If the voter receives
the ballot on Election Day, she can personally deliver the ballot to the county board
of elections. If the requested ballot is not received by Election Day, the voter can
vote in person at her designated polling place, as did Ms. Laudenslager. And, of
course, voters have the option to appear at their polling place and vote in person
before 8:00 p.m. on Election Day.
             Section 1206 of the Election Code provides that where significant
problems develop in a precinct or county, our courts of court of common pleas can
order relief. 25 P.S. §3046. This was done in several counties in the 2020 primary
election, which extended the deadline for receipt of absentee and mail-in ballots.
             As the Secretary noted, there must be deadlines in order for a free and
equal election to take place. And every deadline will mean that some voters will not
be able to participate in an election. A voter may arrive at the polling place at 8:05
p.m. on Election Day, or a voter’s mail-in ballot may arrive at the county board of
elections at 8:05 p.m. on Election Day. Neither vote will be counted.
             In her original preliminary objections, the Secretary argued that
Petitioners’ pleading did not present a controversy ripe for judicial review. Nor did
Petitioners’ evidence. Whatever delays may be occasioned in the November 2020
general election with respect to the receipt of mail-in ballots by county boards of
elections, they are not likely to be caused by the USPS. The evidence demonstrated
that USPS performance in Pennsylvania exceeds the national average.
             There are an infinite number of considerations that go into setting the
rules for a free and equal election. It is the job of the legislature, not the judiciary,
to make these policy choices.


                                              36
       Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 38 of 41




               The 8:00 p.m. Election Day deadline for returning absentee and mail-in
ballots has been in existence since 1964.12 For a court to order a new statewide
deadline may create widespread confusion among voters and the county boards of
elections, the parties that actually conduct the election. This militates against
intervention by a court sitting in equity, assuming grounds for relief were
demonstrated, and here they were not.
               Even if that hurdle were crossed, an order enjoining enforcement of the
received-by deadline would have to be issued to the county boards of elections. They
are the persons that process and qualify ballots. Because they are not parties to this
case, they cannot be enjoined from enforcing the received-by deadline in the
Election Code.
               In sum, the Election Code provides meaningful responses for
conducting an election during the COVID-19 pandemic. Voters may cast their vote
by mail if they conclude their polling place will not meet their standards of safety.
That voters have the responsibility to obtain a ballot and return it by 8:00 p.m.
Election Day does not impose an unlawful burden on the free exercise of the right
to vote. At the next level, county boards of elections may seek relief from their
courts of common pleas should the circumstances require that step appropriate.
Finally, the General Assembly can enact appropriate measures should it determine
that the COVID-19 pandemic requires a statewide response.

12
   Pennsylvania’s received-by deadline is consistent with other state election laws. See ARIZ. REV.
STAT. ANN. §16-558.01 (West 2015) (requiring the return of a mail-in ballot by 7:00 p.m. on the
day of the election); GA. CODE ANN. §21-2-386(a)(1)(f) (West 2019) (requiring the destruction of
absentee ballots received after the polls close); ME. REV. STAT. ANN. tit. 21-a, §755 (1991)
(requiring the return of an absentee ballot before the close of the polls on election day); M ICH.
COMP. LAWS ANN. §168.764a (West 2012) (requiring receipt of absentee ballot before the close
of polls on election day); WIS. STAT. ANN §7.52(1)(a) (West 2018) (requiring the canvas of all
absentee ballots received by 8:00 p.m. on election day).
                                                   37
      Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 39 of 41




                                    VI. Conclusion
          For these reasons, the Court recommends that the Supreme Court deny
Petitioners’ Prayer for Relief.
          Respectfully submitted,

                                   s/Mary Hannah Leavitt
                                  MARY HANNAH LEAVITT, President Judge



Filed: September 4, 2020




                                            38
     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 40 of 41




          Exhibits Admitted into Evidence at Evidentiary Hearing

Exhibit No.           Description
Petitioners
Petitioners’ Ex. 4    USPS Office of Inspector General Management Alert (July
                      7, 2020)
Petitioners’ Ex. 6    USPS General Counsel Thomas J. Marshall Letter to the
                      Hon. Kathy Boockvar (July 29, 2020)
Petitioners’ Ex. 7    USPS General Counsel Thomas J. Marshall Letter to the
                      Hon. Elaine Marshall (July 30, 2020)
Petitioners’ Ex. 9    USPS PMG Briefing, Service Performance Measurement
                      (Aug. 12, 2020)
Petitioners’ Ex. 28   Eastern Areas Inspiring Mail Service Update
Petitioners’ Ex. 30   Preliminary Report of Joseph Eisenberg
Petitioners’ Ex. 32   Preliminary Report of Ronald Strohman

Respondents
Respondents’ Ex. 1 Letter dated July 29, 2020, from Thomas J. Marshall,
                    General Counsel and Executive Vice President of the United
                    States Postal Service, to Kathy Boockvar, Secretary of the
                    Commonwealth of Pennsylvania
Respondents’ Ex. 2 Chart of County Absentee or Mail-in Ballots
Respondents’ Ex. 4 Postal Bulletin: Your 2020 Election and Political Mail Guide
                    (Feb. 13, 2020)
Senate
Intervenors
Senate Intervenors’ Mr. Plunkett’s Declaration that as filed on May 18, 2020 as
Ex. 1               Ex. A to Legislative Intervenors’ Opposition to the
                    Petitioners’ Application for Special Relief in the Nature of a
                    Preliminary Injunction
Senate Intervenors’ Attachment A from Plunkett’s Report, Quarterly
Ex. 2               Performance for First-Class Flats: Service Variance
Senate Intervenors’ Attachment B from Plunkett’s Report, Quarterly
Ex. 3               Performance Aggregation for First-Class Flats: Service
                    Variance
Senate Intervenors’ Quarterly Performance for Presort First-Class Mail®
Ex. 4               Service Variance, USPS, FY 2020 Quarter III
Senate Intervenors’ In the Matter of: Investigation of Election Irregularities
Ex. 6               Affecting Counties Within the 9th Congressional District
Senate Intervenors’ Final Report of the Miami-Dade County Grand Jury, Spring
Ex. 7               Term A.D. 2012, available
     Case 2:20-cv-00966-NR Document 438-1 Filed 09/06/20 Page 41 of 41




Senate Intervenors’ USPS Service Alert, Aug. 28, 2020
Ex. 10
Senate Intervenors’ Postmaster General Louis DeJoy Statement, USPS, Aug. 18,
Ex. 11              2020

Senate Intervenors’ Dhaval M. Dave, et al. Black Lives Matter Protests, Social
Ex. 16              Distancing, and COVID-19
Senate Intervenors’ U.S. Department of Health and Human Services and Centers
Ex. 17              for Disease Control and Prevention, Morbidity and Mortality
                    Weekly Report, Notes from the Field, July 31, 2020

House Intervenors
House Intervenors’ Statement of Postmaster General and Chief Executive Office
Ex. 1              Louis DeJoy (Aug. 21, 2020)
